

Matter of Chatinover (2022 NY Slip Op 00107)





Matter of Chatinover


2022 NY Slip Op 00107


Decided on January 6, 2022


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:January 6, 2022

PM-04-22
[*1]In the Matter of Leah Cohen Chatinover, an Attorney. (Attorney Registration No. 5176672.)

Calendar Date:January 3, 2022

Before:Egan Jr., J.P., Lynch, Clark, Aarons and Colangelo, JJ.

Leah Cohen Chatinover, West Hartford, Connecticut, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Leah Cohen Chatinover was admitted to practice by this Court in 2013 and lists a business address in West Hartford, Connecticut with the Office of Court Administration. Chatinover has applied to this Court, by affidavit sworn to October 12, 2021, for leave to resign from the New York bar for nondisciplinary reasons (see Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) opposes the application, contending that Chatinover is ineligible for nondisciplinary resignation because she has failed to fulfill her attorney registration requirements for the most recent biennial period beginning in 2021 (see Judiciary Law § 468-a; Matter of Lee, 148 AD3d 1350 [2017]; Matter of Bomba, 146 AD3d 1226, 1226-1227 [2017]; Rules of Chief Admin of Cts [22 NYCRR] § 118.1).
In reply to AGC's opposition, however, Chatinover has submitted correspondence in which she states that she is now current in her New York attorney registration requirements. Furthermore, Office of Court Administration records likewise establish that Chatinover has duly registered and cured any preexisting registration delinquency. Accordingly, with AGC voicing no other substantive objection to her application, and having determined that Chatinover is now eligible to resign for nondisciplinary reasons (compare Matter of Tierney, 148 AD3d 1457, 1458 [2017]; Matter of Bomba, 146 AD3d at 1227), we grant the application and accept her resignation.
Egan Jr., J.P., Lynch, Clark, Aarons and Colangelo, JJ., concur.
ORDERED that Leah Cohen Chatinover's application for permission to resign is granted and her nondisciplinary resignation is accepted; and it is further
ORDERED that Leah Cohen Chatinover's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Leah Cohen Chatinover is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Chatinover is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold herself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Leah Cohen Chatinover shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to her.








